        Case:18-16796-MER Doc#:36 Filed:10/27/18                              Entered:10/27/18 22:32:09 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-16796-MER
Mairen R Reagan                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: myhaverk                     Page 1 of 1                          Date Rcvd: Oct 25, 2018
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 27, 2018.
db             +Mairen R Reagan,   PO Box 3408,   Telluride, CO 81435-3408

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 27, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 25, 2018 at the address(es) listed below:
              David M. Serafin   on behalf of Debtor Mairen R Reagan david@davidserafinlaw.com
              Ilene Dell’Acqua     on behalf of Creditor    Seterus, Inc. as the authorized subservicer for
               Federal National Mortgage Association (Fannie Mae), creditor c/o Seterus, Inc.
               bknotice@mccarthyholthus.com, idellacqua@ecf.courtdrive.com;idellacqua@mccarthyholthus.com
              Jared Walters    on behalf of Trustee Jared Walters jcWalters7@gmail.com, CO09@ecfcbis.com
              Jared Walters    jcWalters7@gmail.com, CO09@ecfcbis.com
              Paul Moss    on behalf of U.S. Trustee     US Trustee Paul.Moss@usdoj.gov
              Robert Gregory Busch    on behalf of Creditor Rachel McQueeney rob@rgbusch.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                              TOTAL: 7
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